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12
                             UNITED STATES DISTRICT COURT
13
14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                            Case No. 2:18-cv-07347-R-JC
16    CITY OF LOS ANGELES,
                                              NOTICE OF MOTION AND JOINT
17                        Plaintiff,          MOTION TO PARTIALLY
18                                            VACATE JUDGMENT PURSUANT
                     v.                       TO FED. R. CIV P. 60(b);
19                                            MEMORANDUM OF POINTS AND
20    WILLIAM P. BARR, Attorney               AUTHORITIES
      General of the United States, et al.,
21                                            Date:     June 17, 2019
22                        Defendants.         Time:     10:00 a.m.
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 1         NOTICE OF MOTION AND JOINT MOTION BY PLAINTIFFS AND
 2            GOVERNMENT DEFENDANTS TO VACATE JUDGMENT
                      PURSUANT TO FED. R. CIV P. 60(b)
 3
              PLEASE TAKE NOTICE that on June 17, 2019, at 10:00 a.m., or as soon
 4
     thereafter as counsel may be heard, if a hearing is deemed necessary, before The
 5
     Honorable Manuel L. Real, in Courtroom 880 on the Eighth Floor of the Edward R.
 6
     Roybal Federal Building and United States Courthouse, 255 East Temple Street,
 7
     Los Angeles, the plaintiff and the defendants will jointly move, and hereby do
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     move, to partially vacate the order and injunction entered in this case on February
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     15, 2019 (ECF No. 62), pursuant to Fed. R. Civ. P. 60(b), solely to the extent the
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     order and injunction relate to the Gang Suppression Planning Grants Program for
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     Fiscal Year 2018. 1
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              This joint motion is based on the following Memorandum of Points and
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     Authorities, the evidence and records on file in this action, and any other written or
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     oral evidence or argument that may be presented at or before the time this motion is
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     heard by the Court.
16
     Dated: May 31, 2019
17
                                    Respectfully submitted,
18
         MICHAEL N. FEUER, SBN 111529              JOSEPH H. HUNT
19
         City Attorney                             Assistant Attorney General
20
                                                   NICOLA T. HANNA
21
          /s/ Neema T. Sahni                       United States Attorney
22       JAMES P. CLARK, SBN 64780
         Chief Deputy City Attorney                JOHN R. TYLER
23
         LEELA A. KAPUR, SBN 125548                Assistant Director
24       Executive Assistant City Attorney
         VALERIE L. FLORES, SBN 138572
25
         Managing Senior Assistant City Attorney    /s/ Daniel D. Mauler
26       MICHAEL DUNDAS, SBN 226930                DANIEL D. MAULER
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     1The parties are not requesting any relief herein that would affect the aspect of the
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     Court’s injunction that concerns the Byrne JAG program.
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22    COUNSEL FOR PLAINTIFF

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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2         Plaintiff City of Los Angeles and Defendants William P. Barr, in his official
 3   capacity as Attorney General; Matt Dummermuth, in his official capacity as Principal
 4   Deputy Assistant Attorney General of the Office of Justice Programs; and the U.S.
 5   Department of Justice (collectively, the “Parties”) respectfully move that this Court,
 6   pursuant to Fed. R. Civ. P. 60(b), partially vacate its Order of February 15, 2019
 7   (ECF No. 62) solely as to that aspect of the Order which relates to the Gang
 8   Suppression Grant Program.
 9         The grounds for this joint motion for vacatur are set forth in the Joint Motion
10   For Indicative Ruling Under Fed. R. Civ. P. 62.1 (“Joint Indicative Ruling Motion”),
11   ECF 69. In granting the Parties’ motion for an indicative ruling, this Court stated
12   that, should this case be remanded by the Court of Appeals for purposes of ruling on
13   a motion for such vacatur pursuant to Rule 60(b), the Court would grant the vacatur
14   motion. Order, May 10, 2019, ECF No. 74. On May 20, 2019, the Court of Appeals
15   remanded this case for the purpose of allowing this Court to rule on the moving
16   parties’ vacatur motion. See Order, ECF 75. Accordingly, the moving parties
17   respectfully request that, in accordance with its May 10, 2019, Order, and for the
18   reasons specified in the moving parties’ Joint Indicative Ruling Motion, the Court
19   grant partial vacatur of its February 15, 2019 Order and the resulting injunction
20   solely as they relate to the Gang Suppression Grant Program.
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 1                                     CONCLUSION
 2         For the reasons set forth in the moving parties’ Joint Motion For Indicative
 3   Ruling, and as the Court indicated it would rule upon remand of this matter, the
 4   moving parties respectfully request that the Court, pursuant to Fed. R. Civ. P.
 5   60(b), partially vacate its February 15, 2019 Order and resulting injunction, solely
 6   as they relate to the Gang Suppression Grant Program, without prejudice to
 7   reinstatement after further motion practice regarding those requirements.
 8
 9
10   Dated: May 31, 2019
11                                 Respectfully submitted,
12    MICHAEL N. FEUER, SBN 111529                 JOSEPH H. HUNT
13    City Attorney                                Assistant Attorney General

14                                                 NICOLA T. HANNA
15     /s/ Neema T. Sahni                          United States Attorney
      JAMES P. CLARK, SBN 64780
16    Chief Deputy City Attorney                   JOHN R. TYLER
17    LEELA A. KAPUR, SBN 125548                   Assistant Director
      Executive Assistant City Attorney
18    VALERIE L. FLORES, SBN 138572
19    Managing Senior Assistant City Attorney        /s/ Daniel D. Mauler
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27    SBN 202788                                   COUNSEL FOR DEFENDANTS
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13    COUNSEL FOR PLAINTIFF
14
15
                             ATTESTATION OF SIGNATURES
16
           I, Daniel D. Mauler, hereby attest, pursuant to Local Civil Rule 5-4.3.4(a)(2)
17
     of the Central District of California, that all signatories identified on this document
18
     concur in the document’s content and have authorized its filing.
19
20                                             /s/ Daniel D. Mauler
                                               DANIEL D. MAULER (Va. Bar #73190)
21                                             Trial Attorney
22                                             COUNSEL FOR DEFENDANTS
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